                           1:17-cv-01468-CSB # 17          Page 1 of 3
                                                                                                      E-FILED
                                                                    Tuesday, 16 January, 2018 06:24:34 PM
                                                                             Clerk, U.S. District Court, ILCD

                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE CENTRAL DISTRICT OF ILLINOIS
                                    PEORIA DIVISION

ROBERT WILLIAMS,                                 )
                                                 )
     Plaintiff,                                  )
                                                 )
     vs.                                         )           No. 1:17-cv-01468-CSB
                                                 )
SUSAN PRENTICE, et al.,                          )
                                                 )
     Defendants.                                 )

  ANSWER AND AFFIRMATIVE DEFENSES OF DEFENDANT MICHAEL MELVIN

     Defendant Michael Melvin, by and through his attorney, Lisa Madigan, Attorney General of

the State of Illinois, and answering the Complaint [1] of Plaintiff Robert Williams pursuant to the

Court’s Merit Review Order [11], states the following and raises other affirmative matters:

     1.    Pursuant to its merit review of the Complaint under 28 U.S.C. § 1915A, the court finds

that the plaintiff states an Eighth Amendment claim for inhumane conditions of confinement

against Warden Melvin.

     ANSWER: Defendant Melvin admits that the complaint states a claim under 42 U.S.C.

§ 1983, but denies that he violated Plaintiff’s Eighth Amendment rights or any other

Constitutional rights.




                                            17-1468
                                           Page 1 of 3
                           1:17-cv-01468-CSB # 17             Page 2 of 3




                                      REQUESTED RELIEF

     1.   Defendant denies that Plaintiff is entitled to compensatory damages;

     2.   Defendant denies that Plaintiff is entitled to punitive damages.

     3.   Defendant denies that Plaintiff is entitled to costs, fees, or other relief.

                                         JURY DEMAND

     Defendant respectfully requests trial by jury.

                                   AFFIRMATIVE DEFENSE

     1.   To the extent Plaintiff seeks money damages from this Defendant in his official

capacity, such a claim is barred by the Eleventh Amendment of the United States Constitution.

     2.   To the extent Plaintiff did not timely submit a grievance concerning the alleged fungus

in the North Cell House 3 Gallery shower in June, 2017, he has failed to exhaust his

administrative remedies, provided in 20 Ill. Adm. Code § 504.810, as required by 42 U.S.C.

§ 1997e (a). To the extent Plaintiff did not timely appeal any grievance discussing his alleged

foot fungus in the context of withholding his personal property in June, 2017, he has failed to

exhaust his administrative remedies, provided in 20 Ill. Adm. Code § 504.810, as required by 42

U.S.C. § 1997e (a). To the extent Plaintiff did not timely appeal a grievance concerning the

alleged feces in North Cell House 115 in December, 2015, he has failed to exhaust his

administrative remedies, provided in 20 Ill. Adm. Code § 504.810, as required by 42 U.S.C.

§ 1997e (a).

     WHEREFORE, Defendant Michael Melvin prays that this Honorable Court enter judgement

in his favor and against Plaintiff Robert Williams.

     Dated: January 16, 2018


                                              17-1468
                                             Page 2 of 3
                          1:17-cv-01468-CSB # 17          Page 3 of 3




                                                Respectfully submitted,

                                                By: s/ John Dodd
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                               CERTIFICATE OF SERVICE

    I certify that on January 16, 2018, I electronically filed the foregoing with the Clerk of the

Court using the CM/ECF system which will send notification of such filing to the following:

                                              N/A

and I certify that I have mailed by United States Postal Service, the document to the following

CM/ECF non-participants:

                               Robert Williams #N-03588
                               Pontiac Correctional Center
                               P.O. BOX 99
                               Pontiac, IL 61764

                                                Respectfully submitted,

                                                By: s/John Dodd
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                                           17-1468
                                          Page 3 of 3
